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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                               LITTLE ROCK DIVISION


UNITED STATES OF AMERICA


VS.                                   4:06CR00164-02 GTE


JENNIFER WAINWRIGHT


                                            ORDER

        Jennifer Wainwright appeared before the Court on May 17, 2006, for Plea and Arraignment

and was released on bond under standard Conditions of Release (docket entry #11). United States

Pretrial Services Officer, Ms. Tiffany Dabney, has orally requested that condition 7(k), undergo

medical or psychiatric treatment, be added because there is an indication that Defendant Wainwright

would benefit from mental health counseling. The Court finds good cause for granting this request.

        IT IS THEREFORE ORDERED that the Order Setting Conditions of Release (docket entry

#35) is hereby MODIFIED such that condition 7(k) is hereby ADDED.

        ORDERED this 19th day of July, 2006.



                                             ___________________________________
                                             UNITED STATES MAGISTRATE JUDGE
